         Case 3:16-cv-00537-SDD-SDJ           Document 258        07/08/21 Page 1 of 2




                            UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF LOUISIANA

TAYLOR CARROLL, INDIVIDUALLY            * CIVIL ACTION NO. 3:16-cv-00537-SDD-RLB
AND ON BEHALF OF ALL OTHERS             *
SIMILARLY SITUATED,                     *
                    Plaintiff,          *
                                        *
VERSUS                                  * JUDGE SHELLY D. DICK
                                        *
SGS AUTOMOTIVE SERVICES, INC.,          *
                       Defendant.       *
                                        * MAGISTRATE RICHARD L. BOURGEOIS, JR.
                                        *
*************************************** *

                     JOINT MOTION TO DISMISS WITH PREJUDICE

         Plaintiff, Taylor Carroll (“Carroll”), and Defendant, SGS North America Inc., improperly

named as SGS Automotive Services, Inc. (“SGS”), jointly represent to the Court that Carroll and

SGS agree to a joint dismissal, with prejudice, of all claims pending between the parties in this

action. Carroll and SGS jointly agree and stipulate to the dismissal, with prejudice, of this action

and with each party to bear its own costs and attorneys’ fees. Accordingly, Carroll and SGS jointly

request that the Court enter a Judgment of Dismissal dismissing, with prejudice, all claims between

the parties in the above-captioned matter.

        WHEREFORE, Plaintiff, Taylor Carroll, and Defendant, SGS Automotive Services, Inc.,

respectfully request that the Court enter a Judgment of Dismissal dismissing, with prejudice, all

claims pending between the parties in this action.




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        Case 3:16-cv-00537-SDD-SDJ             Document 258        07/08/21 Page 2 of 2




       Respectfully submitted, this 8th day of July, 2021.

 KEOGH, COX & WILSON, LTD                            MCGLINCHEY STAFFORD, PLLC

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                                 CERTIFICATE OF SERVICE

       I certify that on July 8, 2021, a copy of this pleading was filed electronically with the Clerk

of Court using the CM/ECF system. Notice of this filing will be sent to all known counsel of record

by operation of the court’s CM/ECF system.

                                              /s/Daniel T. Plunkett
                                              DANIEL T. PLUNKETT




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